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1544 <Rev 12/12) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of_court. This form, approved by the Judicial Cont"erence ofthe United States in September 1974, is required for the use ofthe Clerk of Court for the
purpose of mlliating the civil docket sheet. (SEE INSTRUCTIONS ON NEXF PAGE OF THIS FORM.)

l. (a) PLAINTlFFS DEFENDANTS
Katherine Me||ot, |ndividua||y, and on behalfo a class of persons PPL Corporation

similarly situated

 

(b) County of Residence of First Listed Plaintiff Franklin County County of Residence of First Listed Defendant Lehigh County
(EXCEPT IN U.S. l’LAINTIF}" CASES) (IN US. PLA[NTIFF CASES ()NLY)

NOTE: lN LAND CONDEM`NATION CASES, USE THE LOCAT[ON OF
THE TRAC'I` OF LAND INVOLVED.

(C) AltOrl'leS (Firm Name, Address, and Telephone Ntmiber) AfIOl’HCyS (lme)wn)
She||er, P.C.
1528 Walnut Street, 4th Floor
Phi|adelphia, PA 19102

 

 

II. BASIS OF JURISDICTION (}’/ace an "X" m Urie b’ox ()n/)d Hl. CITIZEN SHIP OF PRINCI PAL PART[ES (Place an X" in One Bo)rfor P[aimt'jf
(Fr)r Dl`versily Cases Only) and ()ne Bt)xfi)r Deferidan/)
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ofBusiness ln This State
lj 2 U.S. Government D 4 Diversity Citizen of Anollier State Cl 2 ij 2 lncorporated and Principal Place [l 5 Cl 5
Defendant (Indicate Ci'/i`zenship ofParIi`es in Item III) of aniness In Another Stale
Citizen or Subject ofa [:`l 3 13 3 Foreign Nation Cl 6 l:l 6

 

Foreign Countrv
lV. NATURE OF SUIT (l’lace an ‘X" in ()ne Box Only)

 

   

   

    
      

 

 

 

 

 

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Cl 120 Marine Cl 310 Airplane Cl 365 Personal Inju.ry - ofProperty 21 USC 881 Cl 423 Witl\drawal U 400 State Reappoi‘tionment
l:l 130 Mil|er Act [l 315 Airplane Product Product Liability |:l 690 Other 28 USC 157 D 410 Amit.rust
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Proceeding Slate Court Appellate Courl Reopened Another District Litigation

(SP€CIIV)
Cite the U.S, Civil Statute under which you are filing (Do not cite 'uri.vdi'ctional statutes unless diversity):

Telephone Consumer Protection Act of 1991, 47 U. .C. Sectiori 227
Brief description of cause: _ ` _ .
Unsolicited telephone calls to 1ndividna1s on do-not-call list

VI. CAUSE OF ACTION

 

 

 

 

 

 

 

Vll. REQUESTED IN g CHECK IF THIS lS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint

COMPLAINT: UNDER RULE 231 F-R-CV»P- JURY DEMAND: xi Yes 0 No
VIII. RELATED CASE(S)

(See in.vtrttcti'ons).'

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RE(_`E]PT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

KATHERINE MELLOTT, Individually, and on :

behalf of a class of persons similarly situated, Civil A°tion
Plalntiff, No.
v.
PPL CoRPoRATloN, CLASS ACTION
Defendant_ JURY TRIAL DEMANDED

 

CLASS ACTION COMPLAINT FOR INJUNCTlON AND DAMAGES

Plaintiff, Katherine l\/lellott (hereinafter “Plaintiff” or “l\/lellott”), by and through her
undersigned counsel, brings this class action complaint against Defendant, PPL Corporation
(hereinafter “PPL” or “Defendant”), to stop Defendant’s practice of making unsolicited
telephone calls to individuals that are registered on a “do-not-call” list and to obtain redress for
all persons injured by their conduct. Plaintiff, for her class action complaint, alleges as follows
upon personal knowledge as to herself and her own acts and experiences, and, as to all other
matters, upon information and belief, including investigation conducted by her counsel:

I. PRELIMINARY STATEMENT

l. In a recent effort to promote the sale of its electricity and electricity services, PPL
engage in a practice of placing unauthorized telemarketing calls to the telephones of potential
customers throughout the nation.

2. In doing so, PPL failed to create or enforce procedures to Verify whether it was
violating the Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2(5) (1991)

(codified at 47 U.S.C. § 227) (hereinafter “TCP ”), by placing two or more unsolicited

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telephone calls to individuals on a do-not-call list within a twelve month period, and thereby
placed multiple unsolicited telephone calls to individuals that were on such lists.

3. By making these unauthorized telephone calls to individuals on do-not-call lists,
Defendant has caused consumers actual harm, not only because consumers Were subjected to an
invasion of their privacy, but also by subjecting consumers to prohibited abusive or deceptive
telemarketing acts and practices

4. ln order to redress these injuries, Plaintiff, on behalf of herself and a nationwide
class of similarly situated individuals, brings suit under the TCPA, Which prohibits, among other
things, unsolicited telephone calls to telephone subscribers registered on a do-not-call list.

5. On behalf of the class, Plaintiff seeks an injunction requiring Defendants to cease
initiating telephone solicitations to telephone subscribers registered on a do-not-call list and an
award of statutory damages to the class members, together With costs and reasonable attorneys’
fees.

II. PARTIES

6. Plaintiff, Mellott is an adult individual Who resides at 2382 Apple Way St.,
Thomas, Pennsylvania 17252, Franklin County, Pennsylvania At all times mentioned herein,
Plaintiff Was an individual citizen and resident of the State of Pennsylvania.

7. Defendant, PPL is a Pennsylvania Corporation With its principal place of business
in Allentown, Pennsylvania with an office address located at 2 N. 9th Street, Allentown,
Pennsylvania, and regularly and consistently conducts business within the Commonwealth of
Pennsylvania and the Eastern District of Pennsylvania.

8. At all relevant times herein, Defendant Was a “person” as defined by 47 U.S.C.

§ 153(32).

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III. JURISIDCTION AND VENUE

9. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d),
because (a) at least one member of the putative class is a citizen of a state different from
Defendants, (b) the amount in controversy exceeds $5,000,000, exclusive of interest and costs,
and (c) none of the exceptions under that subsection apply to this action.

10. This Court has personal jurisdiction over PPL as it is authorized to conduct
business, and conducts business, as a Pennsylvania corporation Further, PPL lists its principal
place of business as located in Allentown, Pennsylvania.

ll. Venue is proper in this district under 28 U.S.C. § l391(b) and (c) because
Defendants reside, transact business, are found, or have agents in this District. Further, a
substantial part of the events or occurrences giving rise to the claims alleged occurred in this
District.

IV. FACTUAL ALLEGATIONS

12. In 1991, Congress enacted the TCPA to regulate the explosive growth of the
telemarketing industry. In doing so, Congress recognized that “[u]nrestricted telemarketing . . .
can be an intrusive invasion of privacy[.]” Telephone Consumer Protection Act of 1991, Pub. L.
No. 102-243, § 2(5), 105 Stat. 2394, 2394 (1991) (codified at 47 U.S.C. § 227).

13. The TCPA prohibits persons or entities from initiating calls for telemarketing
purposes to residential telephone subscribers “unless such person or entity has instituted
procedures for maintaining a list of persons who request not to receive telemarketing calls made
by or on behalf of that person or entity.” 47 C.F.R. § 64.1200(d).

14. The TCPA provides any “person that has received more than one telephone call

within any l2-month period by or on behalf of the same entity in violation of the regulations

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prescribed under this subsection” with a private right of action to enjoin such violations and/or
recover actual or statutory damages, whichever is greater, resulting from such violations
47 U.S.C. § 227(c)(5).

15. According to findings by the Federal Communication Commission (“FCC”), the
agency Congress vested with authority to issue regulations implementing the TCPA, cellular
telephones are subject to the same protections as residential lines. See, e.g., In re Rules &
Regulatt'ons Implementing the Telephone Consumer Protecll`on Act, 18 FCC Rcd. 14014 (July 3,
2003).

16. The law contains a safe harbor provision that exempts from liability a person or
entity making telephone solicitations (or on whose behalf telephone solicitations are made) Who
has obtained the subscriber’s prior express invitation or permission to make the call. 47 C.F.R.
§ 64.1200(0)(2)(ii). However, Plaintiff has never provided defendant with any form of consent,
invitation, or permission to be contacted by PPL, and Plaintiff has never had any business
relationship with PPL.

17. Further, the Pennsylvania Telemarketer Registration Act, 73 P.S. §§ 2241-2249,
prohibits persons or entities from “initiat[ing] or caus[ing] to be initiated a telephone solicitation
call to a residential telephone number of a residential telephone subscriber who does not Wish to
receive telephone solicitation calls and has caused [her] name, address and telephone number to
be enrolled on a do-not-call list maintained the list administrator.” 73 P.S. § 2245.2(a).

18. “A violation of the Pennsylvania Telemarketer Registration Act is also a violation
of December 17, 1968 (P.L. 1224, No. 387), known as the Unfair Trade Practices and Consumer

Protection Law.” 73 P.S. § 2246(a).

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19. On February 6, 2013 at 12: 14 p.m. ET, Plaintiff received a telephone call to her
residential telephone line from a person indicating to be a representative of PPL Corporation.

20. The purpose of the call was for the PPL representative to persuade persons to buy
their kilowatt electric rather than kilowatt electric from West Penn Povver a/k/a FirstEnergy Corp.
Plaintiff indicated that she Was on the Pennsylvania Do-Not-Call List and that she did not Wish to
receive telephone calls from PPL Corporation.

21. Later that same day at 12:58 p.m. ET, Plaintiff received a second telephone call to
her residential telephone line from a different person indicating to be a representative of PPL
Corporation, but for the same purpose of soliciting individuals to purchase kilowatt electric from
PPL rather than FirstEnergy Corp.

22. lnfuriated, Plaintiff demanded to know why PPL continued to contact her When
she was listed on the Pennsylvania Do-Not-Call List.

23. The PPL representative stated that PPL does not care What “telephone list”
Plaintiff is on as such lists do not pertain to their company and that PPL can attempt to sell
Whatever it wants to.

24. Plaintiff alleges that PPL has engaged in a pattern of placing similar calls to
persons or entities in an effort to solicit the sale of kilowatt electric Without instituted procedures
for maintaining a list of persons Who request not to receive such telemarketing calls.

25. Plaintiff and the class have been damaged by Defendant’s calls. Their privacy
Was improperly invaded, they were annoyed, and Class members with cellular phones were

charged for the calls.

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V. CLASS ACTION ALLEGATIONS

26. Plaintiff incorporates the allegations contained in the preceding paragraphs as if
the same Were set forth herein.

27. Plaintiff brings this class action pursuant to Rule 23(b)(2) and (3) of the Federal
Rules of Civil Procedure on behalf of the following classes:

Nationwide Class

All persons who, within the applicable statutes of limitations, received more than

one telephone Within any 12-month period during a time when the Defendant did

not nstitute procedures meeting the required minimum standards of 47 U.S.C. §

64.1200(d)(1)-(7) for maintaining a list of persons who request not to receive

telemarketing calls made by or on behalf of Defendant.

Pennsylvania Class
All persons Who, within the applicable statutes of limitations, received a

telephone solicitation call from Defendant to a residential telephone number who
did not wish to receive such telephone solicitation calls and Who had caused his or
her name, address and telephone number to be enrolled on a do-not-call list
maintained by the designated “list administrator” pursuant to 73 P.S. § 2245.2(a).

28. Except as specifically provided herein, the members of the Nationwide Class and
the Pennsylvania Class may be collectively referred to as “the Class.”

29. The above-cited class definitions excludes the Defendant, its legal representatives
assigns, successors, employees, and any entity in which a Defendant has a controlling interest.
Also excluded from the class definitions is the Judge to whom this case is assigned as well as the
Judge’s immediate family. Plaintiff reserves the right to amend the above-stated class definitions
based upon facts learned in discovery

30. Plaintiff alleges on information and belief, that the class is so numerous that
joinder of all members of the class is impractical. Plaintiff also alleges on information and
belief, that the proposed classes as defined herein each separately consist of thousands of

individuals

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31. There are questions of law or fact common to the Class, which common issues
predominate over any issues involving only individual class members The common factual
and/or legal issues common to each class member are as follows:

a. Whether Defendant’s conduct is governed by the TCPA;
b. Whether Defendant’s conduct is governed by the Pennsylvania

Telemarketer Registration Act;

c. Whether the unsolicited telephone calls made by Defendant violated the

TCPA;

d. Whether the unsolicited telephone calls made by Defendant violated the

Pennsylvania Telemarketer Registration Act;

e. Whether the unsolicited telephone calls made by Defendant violated

Pennsylvania’s Unfair Trade Practices and Consumer Protection Law;

f. Whether the class members as defined herein are entitled to treble

damages based upon the willfulness of Defendant’s conduct; and

g. Whether Defendant should be enjoined from engaging in such conduct in
the future.
32. Plaintiff’s claims are typical of those of the other class members All claims are

based on the same facts and legal theories

33. Plaintiff Will fairly and adequately protect the interests of the class She has
retained counsel experienced in handling actions involving unlawful practices under the TCPA
and class actions Plaintiff and her counsel have no interests Which might cause them not to

vigorously pursue this action.

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34. Certif`ication of a class under Rule 23(b)(2) of the Federal Rules of Civil
Procedure is also appropriate in that Defendant has acted on grounds generally applicable to the
Class, thereby making appropriate relief with respect to the Class as a Whole.

35. Certif`ication of the class under Rule 23(b)(3) of the Federal Rules of Civil
Procedure is also appropriate in that:

a. The questions of law or fact common to the members of the class
predominate over any questions affecting an individual member; and

b. A class action is superior to other available methods for the fair and
efficient adjudication of the controversy.

36. Plaintiff requests certification of a hybrid class pursuant to Rule 23(b)(2) of the
Federal Rules of Civil Procedure for injunctive relief and pursuant to Rule 23(b)(3) of the
Federal Rules of Civil Procedure for monetary damages

VI. CAUSES OF ACTION

COUNT I

INJUNCTIVE RELIEF
(On Behalf of the Nationwide Class)

 

37. Plaintiff incorporates the allegations contained in the foregoing paragraphs as if
the same were set forth herein.

38. The TCPA permits Plaintiff and the Nationwide Class to obtain injunctive relief.

39. Thus, Plaintiff and the Nationwide Class request that the Court enjoin PPL from
further violating the TCPA by placing more than one call to any individual within 12-month
without having instituted minimum standards pursuant to 47 C.F.R. § 64.1200(d)(1)-(7) for
maintaining a list of persons who request not to receive telemarketing calls made by or on behalf

of such person or entity.

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40. For this reason, Plaintiff and the Nationwide Class are entitled to an Order
prohibiting and enjoining Defendant, or its agents or independent contractors, from violating the
TCPA as complained of herein.

COUNT II
NEGLIGENT VIOLATIONS OF THE
TELEPHONE CONSUMER PROTECTION ACT
(On Behalf of the Nationwide Class)

41. Plaintiff incorporates the allegations contained in the foregoing paragraphs as if
the same Were set forth herein.

42. Defendant violated the TCPA by placing more than one call to Plaintiff and each
of the Nationwide Class members within 12-month without having instituted the required
minimum standards pursuant to 47 C.F.R. § 64.1200(d)(1)-(7) for maintaining a list of persons
who request not to receive telemarketing calls made by or on behalf of such person or entity.

43. Defendant did not have permission to make the unsolicited telephone calls
complained of herein. Further, had Defendant instituted the required minimum standards
pursuant to 47 C.F.R. § 64.1200(d)(l)-(7), Plaintiff and the Nationwide Class members would
not have received the unsolicited telephone calls complained of herein.

44. As a result of Defendant’s conduct, Plaintiff and the Nationwide Class are each

entitled to, inter alia, a minimum of 8500.00 in damages for each violation of such act and

injunctive relief to prevent further violations

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COUNT III
KNOWING OR WILLFUL VIOLATIONS OF THE
TELEPHONE CONSUMER PROTECTION ACT
(()n Behalf of the Nationwide Class)

45. Plaintiff incorporates the allegations contained in the foregoing paragraphs as if
the same were set forth herein.

46. Defendant’s violations were committed Willfully and/or knowingly inasmuch as
Defendant indicated to Plaintiff that PPL “doesn’t care what list [Plaintiff] Was on” and that
“such lists do not pertain to them.” See supra 11 20; see also 47 U.S.C. § 312(f)(1).

47. lnasmuch as Defendant’s actions were committed willfully and/or knowingly, the
Court should treble the amount of statutory damages recoverable by the Plaintiff and the
Nationwide Class, pursuant to 47 U.S.C. § 227(b)(3)(C).

COUNT IV
VIOLATION OF THE
UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW
(On Behalf of the Pennsylvania Class)

48. Plaintiff incorporates the allegations contained in the foregoing paragraphs as if
the same were set forth herein.

49. By initiating or causing to be initiated telephone solicitation calls to residential
telephone numbers of residential telephone subscribers on the Pennsylvania Do-Not-Call List,
Defendant has violated the Pennsylvania Telemarketer Registration Act, 73 P.S. §§ 2241-2249.
See 73 P.S. § 2245.2.

50. A violation of the Pennsylvania Telemarketer Registration Act is also a violation

of the Pennsylvania Unfair Trade Practices and Consumer Protection Law, 73 P.S. §§ 201-1-201-

9.3. See 73 P.S. § 2246.

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51. As a result of Defendant’s conduct, Plaintiff and the Pennsylvania Class have
sustained damages in a sum Which exceeds the jurisdictional limits of all lower courts which
would have jurisdiction of this matter.

52. Further, and in addition to the damages above, Plaintiff seeks punitive and/or
treble damages against Defendant in an amount to be determined upon the trial of this matter
inasmuch as Defendant’s conduct, as described above, Was extreme, outrageous, oppressive,
fraudulent, malicious, and/or the product of gross negligence

53. In addition to the independent obligations placed upon Defendant to ensure that it
Was not initiating or causing to be initiated telephone solicitation calls to residential telephone
subscribers on the Pennsylvania Do-Not-Call List, Plaintiff expressly notified Defendant that she
was on the Pennsylvania Do-Not-Call List, to which Defendant’s representative simply replied
that “such lists do not pertain to their company and that PPL can attempt to sell whatever it Wants
to.” See supra, 11 20.

54. At all relevant times herein, Defendant knew or should have known that Plaintiff
was on the Pennsylvania Do-Not-Call List, and/or should have had procedures in place to ensure
that no telephone solicitation calls Were placed to residential telephone subscribers on the
Pennsylvania Do-Not-Call List. Defendant either intentionally ignored such obligations or
recklessly disregarded the same.

55. As a direct and proximate result of Defendant’s conscious and deliberate
disregard for the rights of consumers such as Plaintiff, Plaintiff and the Pennsylvania Class have
been damaged as described above, and such damages should be trebled against Defendant in an

amount to be determined upon the trial of this matter.

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PRAYER FOR RELIEF
WHEREFORE, Plaintiff, Katherine Mellott, on behalf of herself and the Class, prays for
the following relief:

A. An Order certifying the Nationwide Class and the Pennsylvania Class as defined

above;
B. An award of actual and statutory damages;
C. An award of punitive or exemplary damages;
D. An injunction prohibiting Defendant, or its agents and/or independent contractors,

from further violating the TCPA;

E. An award of reasonable attorneys’ fees and costs; and
F. Such further and other relief as the Court deems reasonable and just.
JURY DEMAND

Plaintiff requests a trial by jury of all claims that can be so tried.

Dated: March 21, 2013
Respectfully submitted,

SHELLER, P.C.

/s/ Claudine O. Homolash
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Local C ounsel

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